EXHIBIT 193
EXHIBIT 194
EXHIBIT 195
EXHIBIT 196
EXHIBIT 197
EXHIBIT 198
EXHIBIT 199
EXHIBIT 200
EXHIBIT 201
EXHIBIT 202
EXHIBIT 204
REDACTED
EXHIBIT 205
                                                                         Haefner July 2015 Trip

   Expense         Detail               Date        Notes
          $4,458   Castle Hill Inn       04/07/15   Mullaney Accommodations
          $4,458   Castle Hill Inn       04/07/15            Accommodations
           $443    Castle Hill Inn       07/24/15   Dinner at Castle Hill
          $1,050   Sightsailing          05/28/15   Sailing Charter
           $507    Clarke Cooke House    07/22/15   Dinner at Clarke Cooke House
           $132    Newport Mansions      07/22/15   Newport Mansions tour
           $403    Black Pearl           07/23/15   Black Pearl Dinner
        $11,451

          $5,725        share
          $5,725 Mullaney share




WW_EMAILS0196210.xlsx
EXHIBIT 206
REDACTED
EXHIBIT 207
EXHIBIT 208
REDACTED
EXHIBIT 209
                                                                              Nantucket July 2016

 Expense       Detail                           Date        Notes
  $    2,927   Cliffside Beach Club              01/22/16   Mullaney Accommodations
  $    3,519   Cliffside Beach Club              01/22/16            Accommodations
  $      593   Galley Restaurant                 07/25/16   Galley Restaurant Dinner
  $      451   Cru Oyster Bar                    07/26/16   Cru Restaurant Dinner
  $      572   Galley Restaurant                 07/27/16   Galley Restaurant Dinner
  $    1,671   Hertz                             07/28/16   Car Rental
  $      500   Nantucket Historical Association 07/26/16    Walking Tour
  $    1,200   Endeavor Sailing                  07/27/16   Sailing Excursion
  $   11,432




WW_EMAILS0251482.xlsx
EXHIBIT 210
EXHIBIT 212
EXHIBIT 213
McDonough, Theodore V.

From:                              John Coneys <jjconeys@gmail.com>
Sent:                              Thursday, August 24, 2017 6:53 AM
To:                                McDonough, Theodore Y.
Subject:                           Fwd: board meeting follow up CONFIDENTIAL


Ted,

This is the one I meant to send.

Thanks,

J. J.

         Forwarded message
from: John Coneys <jjconevs@umail.com>
Date: Thu, Oct 15, 2015 at 7:26 PM
Subject: Re: board meeting follow up CONFIDENTIAL
To: Ravi Kant <rkant644(gmail.com>
Cc: “Dysart Ted’ <tdysart(heidrick.com>


Ravi, Ted,

The reaction we received from Brian last week was essentially a repeat of the discussions that Ted and I had
with him a couple of years ago when we raised the topic of his employment agreement and compensation with
him. Very emotional and unwilling to accept criticism. I suppose most CEOs are. There are a number of
concerning comments in his diatribe questioning our ability to fairly evaluate him and our understanding of the
direct mail business. He may be right on the later but I think we were more than fair in our overall assessment
of his performance and generous in granting him a $200,000 bonus following a year when direct mail went off
the rails. He obviously sees it differently.

He has proposed to have his bonus reduced to $100,000 which I am in favor of doing. If he wants to continue
the fiction of being awarded a $250,000 bonus with a ‘give back’ of $150,000 I think we should accept that. But
we should be clear in the communications with him that he has agreed to this arrangement and that WW has no
obligation to pay him the $150,000. It has been his practice at both Smile Train and WW to earmark selected ST
and WW spending for donor dinners, travel and other expenses as coming out of his bonus, which is the
mechanism for his ‘give back’. This is certainly an unorthodox approach but all of the earmarked expenses are
proper business expenses of WW (and reported as such) and he is, in fact, forgoing receipt of what he would
otherwise be entitled to receive as a cash bonus. Hana maintains a spreadsheet keeping track of expenses
earmarked against his bonus. As of mid-summer the balance of his remaining unpaid bonus was approximately
$130,000. It may be below $100,000 by now but the new bonus award ‘give back’ amount of$150,000 will
bring the balance back up. This unusual arrangement provides Brian with a form of psychic income which is
clearly very important to him and the satisfaction of making a deemed contribution back to the organization.
To my accounting mind this is a fiction with hypothetical income offset by a hypothetical donation back. He is
not gaining a tax advantage and WW is properly reporting all expenses, including his compensation (which is
actual cash paid).


                                                          1                          WON-EX 0467 54A
EXHIBIT 214
